        Case 3:20-cv-04688-RS        Document 340   Filed 10/13/23    Page 1 of 11




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13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16

17   ANIBAL RODRIGUEZ, et al. individually and on     Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
18
                                                      DECLARATION OF DAVID MONSEES
                                 Plaintiff,           IN SUPPORT OF GOOGLE LLC’S
19
            vs.                                       STATEMENT IN SUPPORT OF
20                                                    MOTION TO SEAL PORTIONS OF
     GOOGLE LLC,                                      CLASS CERTIFICATION & DAUBERT
21
                                                      BRIEFING (DKTS. 314 & 321)
                                 Defendant.
22
                                                      Judge:              Hon. Richard Seeborg
23                                                    Courtroom:          3, 17th Floor
                                                      Action Filed:       07/14/2020
24                                                    Trial Date:         Not Yet Set
     ddf
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                                    DECLARATION OF DAVID MONSEES
                                     CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS           Document 340        Filed 10/13/23      Page 2 of 11




 1             I, DAVID MONSEES, respectfully submit this declaration in regard to the above

 2   captioned matter. I make this declaration based on my personal knowledge of the facts stated

 3   herein.

 4             1.    I am employed at Google LLC (“Google”) as a Senior Product Manager with

 5   supervisory authority concerning Web & App Activity (“WAA”). I joined Google in 2009 and

 6   have been a Product Manager since December 2009. Unless otherwise stated, the facts I set forth

 7   in this declaration are based on my personal knowledge or knowledge I obtained through my

 8   review of corporate records or other investigations. If called to testify as a witness, I could and

 9   would testify competently to such facts under oath.

10             2.    In my role as a Product Manager at Google, I have managed various products across

11   the advertising and WAA product areas and I am familiar with Google’s practices regarding the

12   treatment of sensitive business and technical information.

13         3.        I submit this declaration in support of Google’s Statement In Support of Omnibus

14   Motion to Seal Portions of Class Certification & Daubert Briefing (Dkts. 314 & 321). I have

15   reviewed unredacted versions of Plaintiffs’ Motion for Class Certification (“Motion”) (Dkt. 314-

16   3), the Declaration of Mark Mao In Support Of Plaintiffs’ Motion for Class Certification And

17   Appointment of Class Representatives and Class Counsel (Dkt. 315-14), and 16 of the

18   corresponding exhibits filed therewith which have been designated for sealing: Exhibits 1, 2, 5, 7,

19   11, 17, 42, 43, 54, 55, 56, 57, 59, 61, 68, and 69. I have also reviewed unredacted versions of

20   Exhibit 13 to Google’s Opposition to Plaintiffs’ Motion for Class Certification (“Opposition”)

21   (Dkt. 323) and an exhibit Plaintiffs attached to their Class Certification Reply (“Reply”) (Dkt.

22   333) –Exhibit 71–and one exhibit that Plaintiffs attached to their Opposition to Google’s Motion

23   to Exclude Opinion of Michael Lasinski (“Daubert Opposition”) (Dkt. 331) –Exhibit 9. I have

24   also reviewed a discrete portion of Google’s Motion to Exclude Opinion of Michael Lasinski

25   (“Daubert Motion”) (Dkt. 330). These documents include confidential, proprietary, and

26   competitively sensitive information and should remain under seal.

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                                                       1
                                       DECLARATION OF DAVID MONSEES
                                        CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS          Document 340         Filed 10/13/23      Page 3 of 11




 1          4.     Google seeks to seal narrowly tailored portions of the aforementioned

 2   Exhibits. Specifically, it seeks to seal only 2 out of the 19 exhibits that I reviewed in connection

 3   with Plaintiffs’ Motion entirely and only select excerpts from the rest of the documents.

 4          5.     Commercially Sensitive Proprietary Business Information (all exhibits except for 59

 5   and 68). Exhibit 1 (Motion) is an eight-page spreadsheet containing detailed and confidential
 6   information about Google’s user research studies and corresponding findings. It discloses internal

 7   identifiers for each study, including the internal database location for each. It also includes

 8   detailed commentary from participants and Google employees’ corresponding assessments and

 9   recommendations on how to enhance its products to respond to specific user needs, including the

10   internal prioritization of certain product features. This document lists nonpublic information

11   about specific user studies that Google has run in various categories across different platforms.

12          6.     The entirety of this document is competitively sensitive. It contains proprietary and

13   confidential business information that would allow competitors to gain insight into Google’s

14   strategies for enhancing specific products and its timeline for doing so. If this information were

15   disclosed, competitors could use it to mimic Google’s user studies or use the feedback Google

16   received to improve their own products. This document also includes non-public file paths,

17   project names, and employee emails. This is sensitive information that could cause irreparable

18   harm to Google if disclosed. If an outsider wanted to improperly access Google’s systems, and

19   target particular products or survey participant demographic data or PII for theft or other improper

20   purposes, having Google’s confidential, internal names and file paths to the specific user studies

21   would allow them to more readily find Google’s proprietary documents, information, and code. It

22   is, therefore, very important that these internal names not be revealed outside of Google.

23          7.     Exhibit 2 (Motion) contains excerpts from a presentation regarding Google’s
24   general consent strategy for Google’s products and services. Google seeks to seal only one metric

25   on page -102 and internal code names and employee email addresses on pages -974 and pages -

26   975-6 respectively. It seeks to seal this same information where it appears in Google’s Daubert

27   Motion at p. 24, fn. 13. None of this is public information. It is confidential and competitively

28   sensitive. The metric reflects observations about users’ consent experience and is informed by
                                                      2
                                      DECLARATION OF DAVID MONSEES
                                        CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS          Document 340         Filed 10/13/23      Page 4 of 11




 1   non-public qualitative and quantitative user study research that Google has conducted since

 2   2016. Google considers metrics like these to be competitively sensitive because they reflect

 3   confidential information that Google has gathered after years of user research. Competitors could

 4   use Google’s internal metrics and observations, garnered after investing its time and resources into

 5   several studies, regarding how users respond to different control settings to improve their own

 6   settings to Google’s detriment. This information should thus be shielded from unnecessary public

 7   disclosure. The internal code names and employee emails are sensitive and should also be sealed

 8   for the reasons mentioned in paragraph 6 above.

 9          8.     Exhibit 5 (Motion) contains excerpts from a presentation regarding Google’s User
10   Device Control research, which Google designated Highly Confidential-Attorneys’ Eyes Only

11   when it shared the document with Plaintiffs. It contains analyses from user research study results

12   over the years that continue to inform Google’s designs of account-level device controls (see, e.g.,

13   -762–763). Google does not seek to redact the isolated study results. It seeks to seal only the key

14   takeaways from them which are competitively sensitive because they inform the development of

15   Google’s user device controls across various product settings to this day, including Location

16   History. Google seeks to seal substantive portions of only 4 of 22 slides that Google believes are

17   proprietary and would cause Google the most harm if disclosed. These slides contain information

18   about how users perceive settings and Google’s ideas on how to respond to these perceptions to

19   cater to different user experience preferences (see, e.g., -764, -767). Some of these ideas are still

20   being developed and considered, and some may never be implemented. This is proprietary

21   business information that should not be disclosed. Competitors could use Google’s proposed

22   setting structures and test frameworks and results from them to revise their own user device

23   controls to address customer needs discovered by Google’s research. Google has selected only

24   those slides from this presentation that would cause Google competitive harm if disclosed.

25          9.     Exhibit 17 (Motion) is a letter sent from Google’s counsel to Plaintiffs’ counsel that
26   contains quotes from internal documents regarding strategic design decisions made around the

27   WAA controls. Similar to Google’s internal deliberations regarding the development of device

28   controls as described in paragraph 8 above, the information quoted in the two lines on page 3, and
                                                       3
                                      DECLARATION OF DAVID MONSEES
                                        CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS           Document 340         Filed 10/13/23       Page 5 of 11




 1   portions of the four sentences on page 4, are confidential, competitively sensitive, and not

 2   disclosed in Google’s regular course of business. Google’s narrow redactions to this letter are the

 3   least restrictive means available to protect this information.

 4           10.   Exhibit 11 (Motion) is an excerpt from my deposition in this litigation taken on
 5   September 15, 2022 that is quoted and characterized at p. 3, lines 6-8 and p. 14, lines 21-24, 26-28

 6   of the Motion. The select portions of the discussion that are redacted in the Motion and the Exhibit

 7   (i.e., 212:16-21, 213:8-9, 214:10-14, 18-21, 23-25; 215:1-5, 9-10, 15-24; 216:2-4; 217:3-6, 8-15),

 8   include information regarding the backend processes that Google employs when conducting

 9   sWAA setting consent checks, including when receiving app indexing data. Exhibit 56 (Motion)
10   consists of excerpts from a deposition transcript of another Google employee deposed in this

11   litigation that contains similar information to that which I describe in my deposition at pages

12   112:21-113:1-2, 113:10-11; 114:8-11; 115:17-20; 116-1-8, 17-20. Both discussions are

13   confidential and highly sensitive because they contain details about proprietary consent checking

14   processes that are not public and that concern the flow of user data within Google’s storage

15   infrastructure. How certain user data travels through Google’s infrastructure is not shared in the

16   regular course of business, and for good reason. Disclosing the specific details around how

17   Google processes user data can put Google and users at risk of irreparable harm. As discussed in

18   paragraph 6 above, if malicious actors wanted to access Google’s data, user data specifically, they

19   could use this information as a roadmap for when and how it should do so. Google’s redactions to

20   these transcript excerpts are narrowly applied and there are no less restrictive means for redaction

21   available.

22           11.   Exhibit 9 to Plaintiffs’ Daubert Opposition is an internal meeting notes document
23   that contains commercially sensitive information about Google’s ads products, including about

24   internal product goals (see, e.g., -484), internal metrics related to user traffic for certain products

25   (see, e.g., -473) and related challenges for certain product integrations (see, e.g., -472, -478). It

26   also includes non-public details regarding Google’s revenue sources and estimations (see, e.g., -

27   473, -482–3). This document contains confidential technical details regarding how Google’s ad

28   services work from the backend (see, e.g., -474–477, -479, -450). It includes discussion of long-
                                                     4
                                    DECLARATION OF DAVID MONSEES
                                      CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS          Document 340        Filed 10/13/23       Page 6 of 11




 1   term projects across Google’s ads products that have not been publicly discussed (see, e.g., -480–

 2   481). For these reasons, the information in this document is competitively sensitive and could

 3   harm Google’s competitive standing if disclosed.

 4          12.    Exhibit 42 (Motion) is a presentation with non-public data regarding Google’s
 5   confidential methods for conducting a user study on retention controls comprehension and detailed

 6   next steps resulting from the same. Google seeks to seal 2 out of 49 slides that contain

 7   confidential information regarding Google’s user study procedures (see -998), and concrete next

 8   steps in light of the user study results (see -040). This information is competitively sensitive and

 9   is not shared in Google’s regular course of business. This is the type of information that

10   competitors can use to revise their designs in light of Google’s research on user comprehension

11   and their experiences with certain controls. Google’s redactions are the least restrictive means to

12   seal this information, which should be sealed for similar reasons as the user study information

13   discussed in Paragraphs 7 and 8 above.

14          13.    Exhibit 43 (Motion) is a legal document drafted by counsel in consultation with a
15   Google employee that includes highly confidential, technical, and proprietary information

16   concerning Google’s data logs. The document identifies by name 16 logs that may contain

17   information about whether particular data entries were made using data from a user who had

18   WAA or sWAA turned off at the time the entry was generated from the Google Analytics for

19   Firebase or AdMob SDKs. Information concerning the data fields and naming convention that

20   Google uses for its logs is proprietary information that Google has developed over many years

21   after devoting resources and employee time. It also contains highly sensitive information

22   quantifying the number of logs that contain user (s)WAA off data and regarding how Google was

23   able to compile this list of logs and conduct data queries within them.

24          14.    Google considers the names and data fields in its logs to be confidential and

25   proprietary. They reveal the technical underpinnings of Google’s data storage

26   infrastructure. Furthermore, revealing this information presents a serious risk of irreparable harm

27   to Google, as discussed in paragraph 6 above, because an individual could target Google’s

28   proprietary documents and information for improper uses if he or she knew Google’s internal
                                                    5
                                    DECLARATION OF DAVID MONSEES
                                     CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS           Document 340          Filed 10/13/23      Page 7 of 11




 1   names. Google’s narrow redactions of the specific log names and information pertaining to these

 2   highly confidential logs are the least restrictive means to protecting this proprietary information.

 3             15.   Exhibit 54 (Motion) is a presentation regarding a 2020 launch of suggestion cards
 4   that prompted users to set up retention plans for Web & App Activity, Location History, and

 5   YouTube History. Though the cards’ launch has already occurred, Google’s analysis regarding

 6   the comparative success of each retention card in light of various factors is represented by non-

 7   public metrics and characterizations of those metrics in tables and graphs and short descriptive

 8   content. That includes metrics regarding desirable user interaction with regards to each data

 9   retention card and observations regarding completion rates (see, e.g., -242, -244) and regarding the

10   specific user base for each product (see, e.g., -247, -252). This information is competitively

11   sensitive in that it discloses Google’s product design strategy and design change considerations

12   resulting directly from user research. Google is only seeking to seal those non-public metrics and

13   their characterizations, not general information about the retention cards, which were public

14   facing.

15             16.   Exhibit 55 (Motion) is an internal research document that contains proprietary
16   research questions regarding a highly sensitive consent project that Google has not discussed

17   publicly. The exhibit, as well as p. 12, lines 18-19, of the Motion, which quote and characterize it,

18   are competitively sensitive. Research documents like this one outline Google’s design hypotheses

19   and specific research questions and experiment variations that are proprietary. Google does not

20   disclose this information in its business dealings or in litigation and keeps it restricted to the

21   specific teams whose product expertise would be necessary to conduct the full experiment. If

22   disclosed, this information would cause Google competitive harm as competitors could use

23   Google’s questions, experiment variants, and hypotheses to conduct research based on Google’s

24   design proposals, which Google employees have invested time and resources in

25   compiling. Exhibit 13 (Opposition) is a report by one of Google’s experts, Dr. Donna Hoffman,
26   that includes a verbatim reference to this research document in her report at page 91, footnote

27   280. That reference should be sealed for the same reasons discussed above.

28
                                                         6
                                       DECLARATION OF DAVID MONSEES
                                        CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS          Document 340        Filed 10/13/23      Page 8 of 11




 1          17.    Exhibit 57 (Motion) is an email thread that I was cc’d on pertaining to a WAA
 2   product launch for device history storage. Though most of it is not sensitive, the two lines Google

 3   seeks to redact contain internal logging language/code regarding how WAA-off data appears

 4   within Google’s data storage systems. This information is highly sensitive and should not be

 5   disclosed. Malicious actors could use this code as a roadmap to gain access to sensitive user

 6   data. Disclosing this data could cause Google irreparable harm as discussed in paragraph 6 above.

 7          18.    Exhibit 61 (Motion) is an internal email thread between various google employees,
 8   including a user experience researcher and an interaction designer. The thread consists of internal

 9   strategy deliberations regarding how to increase user clarity and comprehension around in-context

10   consents vs. account-creation consents, as well as other related issues pertaining to the user

11   experience with granular controls. It includes non-public metrics (see, e.g., -084) about the rate of

12   users’ consenting to WAA, and insight from user research studies, including the name of

13   confidential internal research project names (see, e.g.,-091). It also includes employee proposals

14   (see, e.g., -087) regarding how to enhance Google’s permission structure. This information is

15   confidential and competitively sensitive. If this information becomes public, Google’s

16   competitors may unfairly use the information to take on similar projects which have taken

17   technical resources and time to design and analyze, and to compete with Google’s products or

18   business structures.

19          19.    Exhibits 69 (Motion) and Exhibit 7 (Motion) are internal email threads with
20   discussions concerning a non-public project pertaining to backend changes for how Google logs

21   WAA-off data and Google employee PII. Exhibit 7 is quoted and characterized at p. 13, lines 24-

22   26 of the Motion. Google only seeks to redact discrete lines in and characterizations of each

23   exhibit pertaining to this project. Information regarding how Google logs WAA-off data in its

24   proprietary systems is specific to Google and not discussed publicly in Google’s regular course of

25   business. It is highly sensitive and confidential for the reasons that have been discussed

26   throughout this declaration about the highly sensitive and confidential nature of Google’s data

27   logging processes (e.g., ❡ 13-4). Google’s strategies for how to enhance efficiencies in logging
28   and thereby enhance the user experience is also competitively sensitive, as competitors could
                                                      7
                                    DECLARATION OF DAVID MONSEES
                                      CASE NO. 3:20-CV-04688-RS
       Case 3:20-cv-04688-RS          Document 340          Filed 10/13/23     Page 9 of 11




 1   mimic Google’s infrastructure to process user data and gain efficiencies Google has acquired over

 2   years.

 3            20.   Exhibit 71 to Plaintiffs’ Reply is an internal performance review that discloses
 4   internal deliberations and non-public details regarding Google’s strategic responses to specific

 5   regulatory actions. It also contains information about non-public projects (see, e.g., -618, -624–6)

 6   and confidential details regarding specific changes proposed to improve users’ experience,

 7   specifically with regards to core privacy experiences (see, e.g., -619–621). This type of

 8   information is not disclosed in Google’s regular course of business and is competitively

 9   sensitive. Information about Google’s strategies for changing its settings and consents

10   infrastructure to respond to the interests of various stakeholders is the type of information that

11   competitors could use to improve their own products to compete in comparable

12   markets. Google’s redactions to this performance review are narrowly applied and there are no

13   less restrictive means for redaction available.

14            21.   Internal Code Names and Links (Exhibits: 1, 2, 9 (Opposition), 55, 57, 61, 68, and

15   71 (Reply)). The aforementioned exhibits include reference to Google’s internal code names and

16   various internal data file links. Revealing Google’s internal code names and internal links would

17   present a risk of harm to Google. Specifically, a malicious actor interested in improperly

18   accessing Google’s systems could target particular proprietary data storage systems and

19   information for improper uses if he or she knew the internal names Google seeks to seal in these

20   documents. The links could be used for similarly improper purposes. Thus, it is very important

21   that internal code names not be revealed outside of Google. Google has narrowly tailored the

22   information to be sealed to allow the first or second letter in each name to be filed publicly, and no

23   more limited sealing would appropriately protect Google’s confidential and proprietary

24   information.

25            22.   Non-Public Employee Email Addresses (All exhibits except for: 11, 43, and 56).

26   Google seeks to redact the non-public employee email addresses contained within the

27   aforementioned exhibits, including Exhibits 59 and 68. This information should be redacted

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                                                        8
                                      DECLARATION OF DAVID MONSEES
                                       CASE NO. 3:20-CV-04688-RS
      Case 3:20-cv-04688-RS         Document 340         Filed 10/13/23    Page 10 of 11




 1   because those employees’ privacy would be placed at risk if their confidential email addresses

 2   were to be filed publicly.

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                                     DECLARATION OF DAVID MONSEES
                                      CASE NO. 3:20-CV-04688-RS
      Case 3:20-cv-04688-RS           Document 340      Filed 10/13/23     Page 11 of 11




 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          Executed October __,
                              9 2023, at ______________,
                                           San Francisco California.

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                                                        DAVID MONSEES
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                                      DECLARATION OF DAVID MONSEES
                                       CASE NO. 3:20-CV-04688-RS
